                               UNITED STA TES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


 STAR KNESE,

                 Plaintiff,

         V.                                                        Case No. 21-CV-990

 AMAZON.COM SERVICES, LLC,

                 Defendant.


                              STIPULATED NOTICE OF DISMISSAL


        Plaintiff, STAR KNESE and Defendant AMAZON.COM SERVICES, LLC, by its

attorneys Littler Mendelson, P.C., herby submit this stipulated notice of voluntary dismissal

pursuant to Fed. R. Civ. P. 41(a)(l)(A)(ii) with prejudice. The ground for the dismissal is that

Plaintiff no longer wishes to pursue this matter due to the stress associated with litigation. As

such, the parties have agreed to dismiss this case with prejudice. Each party shall bear its/her

own costs and attorney 's fees .




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Dated this 2Yd day of August, 2022.




Isl Star Knese
Star Knese                                        One of Its Attorneys
1714 Madison Road                                 Sofija Anderson (SBN 1041498)
Kenosha, WI53140                                  Matthew Kurlinski (SBN I 069651)
                                                  LITTLER MENDELSON, P.C.
Plaintiff                                         111 East Kilbourn Avenue, Suite 1000
                                                  Milwaukee, Wisconsin 53202
                                                  Telephone: 414.291.5536
                                                  Facsimile: 414.291.5526
                                                  Email: sanderson@littler.com
                                                  Email: mkurlinski@littler.com

                                                  Attorneys for AMAZON.COM
                                                  SERVICES, LLC



4882-9291-3967. I / 090069-1574




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